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May 25, 2018

Honorable Valerie Caproni
United States District Judge
United States District Court
Southern District of New York
40 Foley Square - Room 240
New York, New York 10007

          RE: NUMBER: 17-CV-08733 (VEC)
              DAILY NEWS CHARITIES, INC.
              USA BOXING METROPOLITAN ASSOCIATION
              REQUEST FOR ADJOURNMENT

Dear Judge Caproni:

        Please accept this brief correspondence as Defendant, USA Boxing Metropolitan
Association’s request to adjourn the upcoming June 1, 2018 court date. As was recently indicated
by Plaintiff’s attorney, Mark Lerner, Esq., I am currently working with my client to finalize a
long-negotiated settlement agreement that will dispose of this matter in its entirety.

        Based on the forgoing, I respectfully request an adjournment, for all purposes, to June 22,
2018 (i.e. the date that was proposed by Plaintiff). I respectfully note that I have a criminal
sentencing scheduled for that morning (Nassau County) and therefore request a time in the
afternoon if possible.

         Once again, I thank this Honorable Court for its assistance with my request.



                                                 Sincerely yours,



                                                 ______________________
                                                 Johnnie Woluewich, Esq.
